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- IAL PANEL ONMULTIDISTRICTLITIGATION

INRE WO)Q('PRODUCTS LIABILITYLITIGATION
(SEE A TTA CHED SCHEDULE)
CONDI_TIONAL TRANSFER ORDER (CTO-9)

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 350 additional actions have been transferred to the Eastern District of

Louisiana. With the consent of that court, all such actions have been assigned to the Honorable Eldon E.
Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Liti;zation, 199
F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District
of Louisiana for the reasons stated in the order of February 16, 2005, ___F.Supp.Zd__ (I.P.M.L.
2005), and, with the consent of that court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk
of the Panel within this fifteen (15) day period, the stay will be continued until further order of the Panel.

FOR THE PANEL:

W Q.@Q.J._

Michael J. l§eck

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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|nasmuch as no objection is CLERK S OFF|CE
pending at this time, the A TRUE COPY
stay is Iitted. M\
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JUDICLAL PANEL on New Orleans, LA _ cac. No _`N): --

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Case 1:05-cv-01089-.]DT-STA Document 15 Filed 06/13/05 Page 2 of 4 Page|D 6

UNITED STATES DISTRICT COURT

EASTERN DlSTRICT UF LOUISIANA
OFFlCE oF THE CLERK

LoRRETTA G. WHYTE 500 PoYDRAs ST., SUITE C-151
NEW ORLEANS, LA 70130

CLERK
June 3, 2005

Robert Di Trolio, Clerk
Unitcd States District Court

Western District of Tennessee ,_:,
167 N. Main St., Room 242 J" _§"="
Memphis, TN 38103 § §§

__ 1_`-9~’

 

(J
ln Re: MDL 1657 Vioxx Products Liability Litigation L (3) :§’ !
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Dear Mr. Trolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. It instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possible. Our office has assigned new civil

action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S
District Court Judge issued an order directing that the transfer of records consist of only a certified

copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor

COl.lI`t.

Due to the hi h volume of cases involved in this liti ation lease rovide a er co ies o

the above documents instead of simply referring to your Website. Your prompt attention in this

matter is greatly appreciated

 

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours,

Loretta G. , Clerk
/
By

Deputy Clerk

Enclosures
cc: Judicial Panel on Multidistrict Litigation

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Case 1:05-cv-01089-.]DT-STA Document 15 Filed 06/13/05 Page 3 of 4 Page|D 7

 

 

Your Case Nos. Case Title Our Case Nos.

1:05-1083 Charles R. Dailey, Sr., et al v. Mercl< & Co_, lnc. 05~2054 L (3)

j_'_QLl_(LS£¢` Gerald D. Riley, et al v. Merck &_Wo_, Inc., et cl 05-20$$ L 3
@5-1089 Lany L. Peter, et al v. Merck & Co., Inc., et al 05-2056 L (3) `\

 

1:05-1095 Shlrley r. Sanders v. MercK dc (,`o., lnc., et al Ub-.:ua?i

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 1:05-CV-01089 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

ssEE

 

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Honorable J ames Todd
US DISTRICT COURT

